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Q/“ also 1111 _,s_ s.c;.

IN THE UNITED sTATEs DISTRICT coURT FoR THE ¢
05 JUN -FWEMIEHN DISTRICT oF TENNESSEE, WESTERN DIVISI N

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ennessee resident
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Plaintiff,

V.

CIVIL ACTION NO. C

-05- 21 ga
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U.S. DISTRICT JUDGE

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‘ DATE

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Pennsylvania Corporation, and WILSON &
ASSOCIATES, P.L.L.C. Attorneys at Law,

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GMAC MORTGAGE CORPORATION a §
)
an Arkansas Limited Liability Company §

Defendants.

 

 

MOTION FOR ADMISSION PRO HAC VICE

COMES NOW D. Chris Carson and hereby requests the court to admit Reld S Manley
Pro Hac Vice, in the above styled case and states as follows

l. Mr Manley possesses all of the qualifications required for admission to this court

2. Mr. l\/Ianley is of good moral and professional character

Attached as Exhibit "A" 1s an Affldavit of l\/Ir. Manley in Support of Motion for
Admission Pro Hac Vice. Attached as Exhibit "B" is a Certificate of Good Standmg for Mr

l\/Ianley from the United States District Court for the Northern District of Alabama

Respectfully Submitted,

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LA

 

d chris earl/011 (BPR No. 021971)
Robert R. Maddox (Pro Hac)
Attorneys for Defendant

GMAC MoRTGAGE CoRPoRATIoN
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CERTIFICATE OF SERVICE

l hereby certify that a copy of the foregoing has been served on the following by directing
same to thei office add sses through flrst-class, United States mail, postage prepaid, on this the

z{_ day of ,2005;

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Honorable .l on l\/lcCalla
US DISTRICT COURT

Filed 06/06/05 Page 4 of 4 Page|D 17

